    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 1 of 20
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                    December 06, 2022
         In the United States District Court                         Nathan Ochsner, Clerk


          for the Southern District of Texas
                          GALVESTON DIVISION
                              ═══════════
                              No. 3:22-cv-184
                              ═══════════

                    ROBERT APTER, ET AL., PLAINTIFFS,

                                     v.

      U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES, ET AL.,
                          DEFENDANTS.
         ══════════════════════════════════════════
               MEMORANDUM OPINION AND ORDER
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JEFFREY VINCENT BROWN, UNITED STATES DISTRICT JUDGE:

     The defendants have moved to dismiss under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). Dkt. 25. The motion is granted.

     Background
     The plaintiffs, Robert L. Apter, Talley Bowden, and Paul E. Marik, have

sued the Department of Health and Human Services; Xavier Becerra, in his

official capacity as Secretary of Health and Human Services; the Food and

Drug Administration; and Robert M. Califf, in his official capacity as

Commissioner of Food and Drugs. Dkt. 12. They allege that the Food and

Drug Administration (“FDA”) has illegally interfered with the practice of


                                    1/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 2 of 20




medicine. Id. ¶¶ 1–9.

      The three plaintiffs are physicians who claim they have been harmed

by the FDA’s statements on the use of ivermectin to treat COVID-19. Dkt. 12

¶¶ 4, 10, 106. The plaintiffs specifically point to six publications by the FDA:

      (1)   An article entitled Why You Should Not Use Ivermectin to
            Treat or Prevent COVID-19. Dkt. 12-1;

      (2)   An ivermectin FAQ that asks, “Should I take ivermectin to
            prevent or treat COVID-19?” and answers, “No. While
            there are approved uses for ivermectin in people and
            animals, it is not approved for the prevention or treatment
            of COVID-19. You should not take any medicine to treat or
            prevent COVID-19 unless it has been prescribed to you by
            your health care provider and acquired from a legitimate
            source. A recently released research article . . . described
            the effect of ivermectin on SARS-CoV-2 in a laboratory
            setting. These types of laboratory studies are commonly
            used at an early stage of drug development. Additional
            testing is needed to determine whether ivermectin might
            be appropriate to prevent or treat coronavirus or COVID-
            19.” Dkt. 12-2;

      (3)   A COVID-19 FAQ that asks, “Should I take ivermectin to
            prevent or treat COVID-19?” and answers, “No. While
            there are approved uses for ivermectin in people and
            animals, it is not approved or authorized for the prevention
            or treatment of COVID-19. Read more about why you
            should not use ivermectin to treat or prevent COVID-19,”
            and links to the article in (1). Dkt. 12-3;

      (4)   A tweet/LinkedIn post/Facebook post that reads, “You are
            not a horse. You are not a cow. Seriously, y’all. Stop it,” and
            links to the article in (1). Dkt. 12-4;

      (5)   An Instagram post of a horse with the caption, “You are not
            a horse. Stop it with the #ivermectin. It’s not authorized for
                                     2/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 3 of 20




               treating #COVID.” Dkt. 12-6; and

      (6)      A tweet that reads, “Hold your horses, y’all. Ivermectin may
               be trending, but it still isn’t authorized or approved to treat
               COVID-19,” and links to the article in (1). Dkt. 12-7.

      While the plaintiffs acknowledge the FDA’s authority to regulate drugs,

they claim that the FDA has no authority to “prohibit, direct, or advise

against off-label1 uses of drugs approved for human use.” Dkt. 12 ¶¶ 51–53.

The plaintiffs rely on 21 U.S.C. § 396, which states that nothing in the Federal

Food, Drug, and Cosmetic Act2 “shall be construed to limit or interfere with

the authority of a health care practitioner to prescribe or administer any

legally marketed device for any condition or disease within a legitimate

health care practitioner-patient relationship.” Id. ¶ 56. They claim that § 396

also applies to the prescription and administration of drugs. Id. ¶ 57.

      The plaintiffs assert five claims for relief: (1) ultra vires acts; (2) APA3

violation: arbitrary or capricious; (3) APA violation: not in accordance with

law; (4) APA violation: in excess of statutory authority; and (5) declaratory

judgment in accordance with claims 1–4. Dkt. 12 ¶¶ 129–159.



      1When a doctor prescribes an FDA-approved drug for a purpose different
than that which it was approved for, it is considered “off-label.”
      2   21 U.S.C. § 301 et seq.
      3   The Administrative Procedure Act, 5 U.S.C. § 501 et seq.

                                        3/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 4 of 20




      The defendants have moved to dismiss under Rules 12(b)(1) and

12(b)(6). 4 Dkt. 25.

      Legal Standard
      Rule 12(b)(1) requires dismissal if the court “lacks the statutory or

constitutional power to adjudicate the case.” Home Builders Ass’n of Miss.,

Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). The party

asserting jurisdiction bears the burden of proof. Howery v. Allstate Ins. Co.,

243 F.3d 912, 916 (5th Cir. 2001). To test whether the party asserting

jurisdiction has met its burden, a court may rely upon: “(1) the complaint

alone; (2) the complaint supplemented by undisputed facts evidenced in the

record; or (3) the complaint supplemented by undisputed facts plus the

court’s resolution of disputed facts.” Barrera–Montenegro v. United States,

74 F.3d 657, 659 (5th Cir. 1996). In considering a motion to dismiss for lack

of subject-matter jurisdiction, the court accepts all factual allegations in the

plaintiffs’ complaint as true. Den Norske Stats Oljeselskap As v. HeereMac

Vof, 241 F.3d 420, 424 (5th Cir. 2001).




      4Because the jurisdictional grounds are dispositive, the court does not reach
the merits under 12(b)(6).

                                      4/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 5 of 20




      Analysis
      “It is axiomatic that the United States may not be sued without its

consent and that the existence of consent is a prerequisite for jurisdiction.”

United States v. Mitchell, 463 U.S. 206, 212 (1983). “A waiver of sovereign

immunity cannot be implied but must be unequivocally expressed.” United

States v. Mitchell, 445 U.S. 535, 538 (1980) (quoting United States v. King,

395 U.S. 1, 4 (1969)). “[T]he United States may not be sued except to the

extent that it has consented to suit by statute,” and “[w]here the United

States has not consented to suit or the plaintiff has not met the terms of the

statute, the court lacks jurisdiction and the action must be dismissed.”

Alabama-Coushatta Tribe of Tex. v. United States, 757 F.3d 484, 488 (5th

Cir. 2014) (quoting Koehler v. United States, 153 F.3d 263, 266 (5th Cir.

1998)). “[A] waiver of the Government’s sovereign immunity will be strictly

construed, in terms of its scope, in favor of the sovereign.” Lane v. Pena, 518

U.S. 187, 192 (1996).

      One way for plaintiffs to overcome sovereign immunity is claiming an

ultra vires act. Where an “officer’s powers are limited by statute, his actions

beyond those limitations are considered individual and not sovereign

actions”; they are instead “ultra vires his authority and therefore may be

made the object of specific relief.” Danos v. Jones, 652 F.3d 577, 583 (5th


                                    5/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 6 of 20




Cir. 2011) (quoting Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682,

689 (1949)). To successfully claim an ultra vires act, “the complaint must

allege facts sufficient to establish that the officer was acting ‘without any

authority whatever,’ or without any ‘colorable basis for the exercise of

authority.’” Danos, 652 F.3d at 583 (quoting Pennhurst State Sch. & Hosp.

v. Halderman, 465 U.S. 89, 101 n.11 (1984)). The ultra vires doctrine is a

narrow exception to sovereign immunity. Pennhurst State Sch. & Hosp., 465

U.S. at 116.

      The APA provides another opportunity for plaintiffs to overcome

sovereign immunity. “Section 702 of the APA ‘waives sovereign immunity for

actions against federal government agencies, seeking nonmonetary relief, if

the agency conduct is otherwise subject to judicial review.’” Louisiana v.

United States, 948 F.3d 317, 321 (5th Cir. 2020) (quoting Alabama-

Coushatta Tribe, 757 F.3d at 488). To seek judicial review, § 702 requires the

plaintiffs to meet two requirements.

      First, the plaintiffs must identify an agency action. Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 882 (1990); 5 U.S.C. § 702. Agency action is

defined by 5 U.S.C. § 551(13) to “include[] the whole or a part of an agency

rule, order, license, sanction, relief, or the equivalent or denial thereof, or

failure to act.” 5 U.S.C. § 551(13); see 5 U.S.C. § 701(b)(2) (“For the purpose

                                    6/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 7 of 20




of this chapter . . . ‘agency action’ ha[s] the meaning[] given . . . by section

551 of this title.”).

       Second, the plaintiffs “must show that [they have] ‘suffered legal

wrong’ because of the challenged agency action, or are ‘adversely affected or

aggrieved’ by that action ‘within the meaning of a relevant statute.’” Lujan,

497 U.S. at 883.

       While these two requirements apply to all waivers of sovereign

immunity under § 702, the APA distinguishes between two different types of

claims: (1) causes of action under the general provisions of the APA, “where

a ‘person suffer[s] legal wrong because of the agency action,’” and

(2) statutory and non-statutory causes of action, “where a person is

‘adversely affected or aggrieved by agency action within the meaning of a

relevant statute.’” Alabama-Coushatta Tribe, 757 F.3d at 489 (quoting 5

U.S.C. § 702). “[T]o be ‘adversely affected or aggrieved . . . within the

meaning’ of a statute, the plaintiff[s] must establish that the injury . . . falls

within the ‘zone of interests’ sought to be protected by the statutory provision

whose violations forms the legal basis for his complaint.” Lujan, 497 U.S. at

883.

       “When . . . review is sought . . . under the general review provisions of

the APA, the ‘agency action’ . . . must be ‘final agency action.’” Id. at 882

                                      7/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 8 of 20




(emphasis added) (quoting 5 U.S.C. § 704). To be a final agency action, the

action must “(1) ‘mark the consummation of the agency’s decisionmaking

process,’ and (2)” be an action “by which rights or obligations have been

determined, or from which legal consequences will flow.” Sierra Club v.

Peterson, 228 F.3d 559, 565 (5th Cir. 2000) (quoting Bennett v. Spear, 520

U.S. 154, 178 (1997)). “A final action must be an ‘identifiable action or event.’”

Id. (quoting Lujan, 497 U.S. at 899).

      In contrast, when review is sought pursuant to a statutory or non-

statutory cause of action—completely apart from the general provisions of

the APA—there is no finality requirement; the plaintiff need only show

“agency action” within the meaning of 5 U.S.C. § 551(10). Alabama-

Coushatta Tribe, 757 F.3d at 489.

      The court believes, and the parties seem to agree, that the plaintiffs’

claim in Count 1 could be analyzed under either the non-statutory claim

standard of the APA or the ultra vires doctrine. See Dkts. 25 at 29 (labeling

Count 1 as a non-statutory cause of action and explaining § 702’s application

on such a claim); 27 at 30 (arguing the ultra vires claim and simultaneously

noting that § 702 waives sovereign immunity for both ultra vires and APA

claims). The APA and ultra vires jurisprudence, however, are two distinct




                                      8/20
    Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 9 of 20




waivers of sovereign immunity, and thus it would be incorrect to use the two

interchangeably.

      The court analyzes Count 1 under the ultra vires-act jurisprudence

because the plaintiffs label it that way in their complaint, Dkt. 12 at 37, and

because the plaintiffs emphasized that their claim under the ultra vires

jurisprudence was separate from their claims under the APA during the

motion hearing, Dkt. 43 at 26 (“[T]his court should be careful to . . . view the

ultra vires claim and the APA claim separately.”). Counts 2–4 are claims

made under the general provision of the APA.

      A. Ultra Vires Acts
      The defendants argue that the plaintiffs fail to establish subject-matter

jurisdiction as sovereign immunity bars their claims. Dkt. 25 at 10. The

plaintiffs respond that the statements were ultra vires and thus sovereign

immunity does not bar their suit. Dkt. 27 at 29.

      The plaintiffs argue that the FDA’s statements were ultra vires acts

because they exceeded the FDA’s authority as limited by 21 U.S.C. § 396.

Dkt. 12 ¶¶ 129–131. Section 396 provides:

      Nothing in this chapter shall be construed to limit or interfere
      with the authority of a health care practitioner to prescribe or
      administer any legally marketed device to a patient for any




                                     9/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 10 of 20




      condition or disease within a legitimate health care practitioner-
      patient relationship.

21 U.S.C. § 396 (emphasis added).

      The plaintiffs contend that courts have “consistently interpreted this

prohibition as applying to the prescription or administration of drugs as

well.” Dkt. 27 at 9. Yet as far as cases from this circuit go, they rely on just

one that acknowledges the fact 5 that “the FDA does not restrict physicians

from prescribing an otherwise FDA-approved drug for an off-label use,” and

then, notably, cites to § 396 using a see citation. United States ex rel King v.

Solvay Pharm., Inc., 871 F.3d 318, 328 (2017). The Fifth Circuit’s use of “see”

regarding § 396 does not stand for the proposition that § 396 applies equally

to drugs as it does to devices. Indeed, the use of a see signal explicitly

acknowledges that there is an “inferential step” required between the

statute’s plain language and the court’s assertion. THE BLUEBOOK: A UNIFORM

SYSTEM OF CITATION R.1.2, at 62 (Columbia Law Review Ass’n et al. eds., 21st

ed. 2020) (explaining that a see signal is used when “there is an inferential

step between the authority cited and the proposition it supports”). In some

circumstances, this may be a comfortable inference for the court to make. In

the context of an ultra vires claim, however, it is too much—the ultra vires-


      5 The defendants do not dispute that this is generally the case. Dkts. 25 at 11;
42 at 11.

                                       10/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 11 of 20




act exception to sovereign immunity is intended to be narrow. Pennhurst

State Sch. & Hosp., 465 U.S. at 116. This court will not be persuaded to rely

on a see signal to expand the plain-text meaning of the Food, Drug, and

Cosmetic Act and inappropriately enlarge the scope of the ultra vires-act

exception to sovereign immunity.

      To be ultra vires, there must be (1) an officer, (2) whose powers are

limited by statute, who (3) acted outside of those limitations. Larson, 337

U.S. at 689. Further, the act must be without any authority whatsoever or be

made without any colorable basis for authority. Danos, 652 F.3d at 583. That

is not the case here. First, while § 396 limits the FDA’s powers as applied to

medical devices, it does not do so in the context of drugs. As there is no

statute limiting the FDA’s actions here, it cannot have acted outside of any

statutory limitations. 6

      Further, it cannot be said that the FDA had no colorable basis of

authority. The FDA is charged by Congress with protecting public health and

ensuring that regulated medical products are safe and effective, among other



      6 Perhaps if the plaintiffs were alleging that the statements interfered with
the authority to administer or prescribe a legally marketed medical device, which
§ 396 specifically prohibits, they would sufficiently be alleging an ultra vires act
and the complaint could survive a motion to dismiss on those grounds. The fact of
the matter, however, is that the statute says devices, not drugs—and this case is
about drugs.

                                      11/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 12 of 20




things. 21 U.S.C. §§ 393 (b)(1)–(b)(2). The plaintiffs do not dispute that the

FDA has the authority, generally, to make public statements in-line with

these purposes. Although the FDA could have, and perhaps should have,

been more prudent in their communications, they had at least a colorable

basis in authority—and there is no statute saying otherwise.

      So the complaint fails to allege an ultra vires act that would vest this

court with subject-matter jurisdiction in the face of the defendants’ sovereign

immunity.

      B. General APA Claims
      When a plaintiff makes a claim under the general provisions of the

APA, the APA “provides judicial review of ‘final agency action for which there

is no other adequate remedy in a court.’” Data Mktg. P’ship v. U. S. Dep’t of

Labor, 45 F.4th 846, 853 (5th Cir. 2022) (quoting 5 U.S.C. § 704). To warrant

judicial review here, the plaintiffs must allege a final agency action and “must

show that [they have] ‘suffer[ed] legal wrong’ because of the challenged

agency action, or [are] ‘adversely affected or aggrieved’ by that action ‘within

the meaning of a relevant statute.’” Lujan, 497 U.S. at 882–83 (quoting 5

U.S.C. § 702). The FDA’s statements are not final agency action.

      To be a final agency action, the action must “(1) ‘mark the

consummation of the agency’s decisionmaking process,’ and (2) ‘by which


                                    12/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 13 of 20




rights or obligations have been determined, or from which legal

consequences will flow.’” Sierra Club, 228 F.3d at 565 (quoting Bennett, 520

U.S. at 178).

      Assuming arguendo that the statements were in fact agency action, the

plaintiffs have not alleged a waiver of sovereign immunity under the general

provisions of the APA as the statements do not rise to the level of final agency

action. While the finality requirement is “flexible” and “pragmatic,” the

statements here are not final agency action. See Abbott Lab. v. Gardner, 387

U.S. 136, 149–50 (1967)

      As to the first prong of the final-agency-action test, at least some of the

statements do not mark the consummation of the agency’s decisionmaking

process. “Agency action may mark the consummation of the agency’s

decisionmaking process if the agency action ‘is not subject to further agency

review,’ which occurs when the agency has ‘asserted its final position on the

factual circumstances underpinning’ the agency action.” Louisiana State v.

U.S. Army Corps of Eng’rs, 834 F.3d 574, 581 (5th Cir. 2016) (internal

citation omitted) (quoting Sackett v. EPA, 566 U.S. 120, 127 (2012), and

Alaska Dep’t of Envtl. Conservation v. EPA, 540 U.S. 461, 483 (2004)).

However, an agency’s ability to simply “change its position or its reasons for

the decision” does not alone bar finality. Data Mktg. P’ship, 45 F.4th at 854.

                                     13/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 14 of 20




      Some of the statements at issue here imply a lack of finality, as they

include language indicating that they were made based on “[c]urrently

available data,” “[a]dditional testing [was] needed,” “[c]linical trials [were]

ongoing,” and “initial research [was] underway.” Dkts. 25-1 at 3; 25-2 at 2;

25-29 at 3. Other statements, like the Instagram post, do not have this

qualifying language and could potentially represent the consummation of the

agency’s decisionmaking process—except that no case law establishes the

proposition that fleeting content on social media can mark the

consummation of an agency’s decisionmaking process. Though of course the

FDA could revisit the statements and change its opinion, either by taking

them down or making new statements, that alone is insufficient to prevent

an agency action from being final. Data Mktg. P’ship, 45 F.4th at 854. The

court will not reach that question, however, because the statements fail the

second prong of the final-agency-action test.

      None of the statements determine rights, obligations, or legal

consequences. “[L]egal consequences are created whenever the challenged

agency action has the effect of committing the agency itself to a view of the

law that, in turn, forces the plaintiff either to alter its conduct, or expose itself

to potential liability.” Texas v. EEOC, 827 F.3d 372, 282 (5th Cir. 2016)

(“EEOC I”). When considering whether agency action meets this prong of the

                                       14/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 15 of 20




final-agency-action test, courts consider a variety of factors, including

“whether an agency intends to bind itself to a particular legal position,”

whether the action appears on its face to be binding or is applied in a way

that is binding, whether there is mandatory language, whether the action

retracts an agency’s discretion to adopt a different view of the law, whether

the action creates safe harbors protecting parties from adverse actions, and

when “affected private parties are reasonably led to believe that failure to

conform will bring adverse consequences.” Texas v. EEOC, 933 F.3d 433,

441–43 (5th Cir. 2019) (“EEOC II”).

      There is a plethora of case law that outlines when agency action is final.

See, e.g., Louisiana State, 834 F.3d at 583 (collecting cases where agency

action was final7); see also Data Mktg. P’ship, 45 F.4th at 854 (holding that

an advisory opinion that bound the agency and withdrew previously held




      7  Among others, Louisiana State cites Bennett, 520 U.S. at 170, 178 “(noting
that the Fish and Wildlife Service’s ‘Biological Opinion,’ which stated that the
Bureau of Reclamation’s operation of a federal reclamation scheme threatened two
endangered species of fish, had ‘direct and appreciable legal consequences’
because disregarding the Biological Opinion’s conclusions threatened the future
prospect of substantial civil and criminal penalties)” and “Frozen Food Express v.
United States, 351 U.S. 40, 44 (1956) (order of Interstate Commerce Commission
was final agency action because it ‘warns every carrier, who does not have authority
from the Commission to transport [specified] commodities, that it does so at the
risk of incurring criminal penalties’).” Louisiana State, 834 F.3d at 583.

                                      15/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 16 of 20




discretion was final agency action, while information letters did not bind the

agency and were not final).

      The plaintiffs rely on EEOC II for the proposition that an agency’s

guidance document is final for APA purposes where “private parties can rely

on it as a norm or safe harbor by which to shape their actions.” Dkt. 27 at 33

(quoting EEOC II, 933 F.3d at 443–44). The plaintiffs argue that this is the

case here, as the FDA’s statements created a norm as to ivermectin use in a

COVID-19 context, and thus the statements here are as final as the guidance

document in EEOC II was final. Id.

      The statements here, however, are unlike the guidance documents in

EEOC II. In EEOC II, the guidance documents announced the EEOC’s

interpretation of law, described how the EEOC would handle fact patterns

under that interpretation, and how affected employers, individuals, and

EEOC staff should respond. EEOC II, 933 F.3d at 437–39. The court held

that the guidance documents were final agency action that established rights,

obligations or legal consequences, as the guidance told EEOC staff what was

illegal, established a framework for employers to follow to comply with law,

and created safe harbors for employers to avoid liability. Id. at 443–47. Thus,

the guidance was binding as a practical matter because private parties could

rely on it as a norm or safe harbor to shape their actions around to avoid

                                    16/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 17 of 20




liability. Id. at 443–44. Although the EEOC did not have power to bring an

enforcement action under the guidelines against the plaintiff State of Texas,

the EEOC did have the power to bring such an action against a private

employer. Id. at 444. The court determined that the finality of the action did

not depend on the plaintiff’s identity, but on the action itself, and how the

action binds the agency. Id. at 444–45.

      The FDA statements here do not come close to determining the rights,

obligations, and legal consequences determined by the guidance in EEOC II.

Here, there is no indication the FDA has adopted a legal position, no

indication of any future liability on non-complying parties, and no

establishment of safe harbors. The statements do not, in contrast to the

EEOC II guidance, have the “effect of committing the agency itself to a view

of the law that, in turn, forces the plaintiff to alter its conduct, or expose itself

to potential liability.” Id. at 446 (citing EEOC I, 827 F.3d at 383). While the

FDA statements communicate the FDA’s stance on ivermectin, they do not

attempt to delve into the legality of any issue in the way that the EEOC II

guidance did. Further, the FDA does not have the power to “enforce” the

statements against the plaintiffs or anyone else, unlike in EEOC II. Thus,

shaping behavior around the statements here would not protect the

plaintiffs, or anyone else, from liability at the hands of the FDA. Finally,

                                       17/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 18 of 20




unlike in EEOC II, the statements here do not bind the federal agency. The

statements here do not outline the agency’s legal position on a doctor’s

authority to prescribe ivermectin to patients and the possible consequences

of doing so, or how a doctor can avoid facing liability for prescribing

ivermectin, or use any similar language indicating that the statements

determine rights, obligations, or legal consequences. The statements here are

unlike the guidance documents in EEOC II and are not final agency action.

      The plaintiffs also rely on Louisiana State v. U.S. Army Corp of Eng’rs,

834 F.3d 574, 583 (5th Cir. 2016), to support their contention that the FDA

statements are final agency action. Dkt. 27 at 34. In Louisiana State, the Fifth

Circuit held that a federal agency’s “Final Deauthorization Report,” which

certified part of a plan but did not bind or regulate the plaintiff, did not create

any legal consequences as required for final agency action. Louisiana State,

834 F.3d at 583. In support of this conclusion, the court explained that final

agency actions “normally affect a regulated party’s possible legal liability;

these consequences tend to expose parties to civil or criminal liability for

non-compliance with the agency’s view of the law or offer a shelter from

liability if the regulated party complies.” Id.

      While the plaintiffs allege that the FDA’s statements have incited third

parties to investigate and fire the plaintiffs, the FDA’s statements do not state

                                      18/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 19 of 20




the FDA’s view of the law or create civil or criminal liability for non-

compliance, just as the report in Louisiana State did not create legal

consequences. A state-medical-board investigation and losing one’s job—at

the hands of non-agency third parties—are not the types of consequences

that meet the finality requirement.

      Louisiana State also provides a contrasting point—the court in that

case ruled that a memorandum of agreement that was binding, final, and

contractual in nature determined “rights and obligations and ha[d] legal

consequences,” and thus was final agency action. Id. Under the

memorandum of agreement, the agency could have sued the plaintiff to

enforce the terms. Id. at 584. When compared to the two different documents

in Louisiana State, the statements here are more like the report than the

memorandum of agreement; the FDA cannot “enforce” the statements here

against the plaintiffs or anyone else. Like the report in Louisiana State, the

statements here are not final agency action.

      The complaint has failed to allege a final agency action that would allow

an exception to sovereign immunity under the APA.8

                                  *      *     *


      8As the complaint does not allege final agency action, the court does not
reach whether the plaintiffs suffered legal harm as a result of final agency action.
Alabama-Coushatta Tribe, 757 F.3d at 489.

                                      19/20
   Case 3:22-cv-00184 Document 45 Filed on 12/06/22 in TXSD Page 20 of 20




     As the complaint does not allege facts that overcome the defendants’

assertion of sovereign immunity, the defendants’ motion to dismiss is

granted. Dkt. 25.

     Signed on Galveston Island this 6th day of December, 2022.




                                    ___________________________
                                    JEFFREY VINCENT BROWN
                                    UNITED STATES DISTRICT JUDGE




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